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                               Office of the Independent Monitors
                                 P.B., et al., v. John White, et al.
                                 (Civil Case No. 2:10-cv-04049)
                               Final Status Report to the Court
                                           July 3, 2018

  A. INTRODUCTION

      Pursuant to Section V(9) on page 16 of the Consent Judgment (CJ) filed with the

Court on March 25, 2015, the Independent Monitors shall file with the Court and provide

the Parties with reports describing the steps taken by the State Defendants and the

Defendant-Intervenor to implement the Agreement and evaluate the extent to which the

State Defendants and the Defendant-Intervenor have complied with each substantive

provision of the Agreement. In relation, these reports shall be written with due regard for

the privacy interests of the students. Pursuant to Section V(9)(a), the Monitor shall issue a

status report every 120 days after the first year of implementation of the Agreement. The

reports shall be provided to the Parties in draft form for comment at least 14 days prior to

their issuance. The Monitor shall consider the Parties’ responses and make appropriate

changes, if any, before issuing the report. Therefore, a summary of the feedback from each

party is provided. The Independent Monitors received feedback from the Counsel for the

Plaintiff Class on May 21, 2018 as well as feedback from the Defendant-Intervenor on June

1, 2018 and the State Defendants on June 4, 2018. Overall, the Plaintiffs expressed concern

with the “continued pattern of systemic noncompliance at LEAs selected for targeted

monitoring in fall 2017.” Counsel for the Plaintiff Class also renewed their objection to the

IM’s determination that the LDOE has achieved an initial year of “substantial compliance”

in relation to targeted monitoring activities and provision of corrective actions for identified

LEAs and maintained that compliance for one year. Specifically, the Plaintiffs’ Counsel



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argued that the “Supreme Court recently clarified that IDEA required more than de minimus

compliance, i.e., more than a paper Corrective Action Plan (CAP)” (e.g., Endrew F. ex rel.

Joseph F. v. Douglas Cty Sch Dist. RE-1, 137 S. Ct. 988, 1001, 197 L. Ed. 2d 335 (2017),

and they asserted that the Consent Judgment “clearly requires the LEAs to actually remedy

noncompliance before a finding of ‘substantial compliance’ can be made.” Therefore,

Plaintiffs’ Counsel encouraged the IMs “to wait until compliance is verified in follow-up

monitoring before finding the LDOE in substantial compliance” for targeted monitoring

activities and corrective actions. Finally, the Counsel for the Plaintiff Class expressed

strong concerns regarding the content of the CAPs for the LEAs identified for on-site

targeted monitoring during the fall 2017 school term (e.g., facially insufficient to meet the

requirements of the Consent Judgment, omit important information such as personnel

responsible for implementation of CAP activities and timelines, do not incorporate

recommendations from IM status reports dated February 22, 2018 and February 23, 2018).

The Defendant-Intervenor responded on June 1, 2018 that “OPSB does not concur with

many of SPLC’s arguments in their feedback letter on the draft IM report, including the

relevance to Endrew F. and especially the recommendation to alter the IM’s conclusions

regarding “substantial compliance.” The State Defendants responded on June 4, 2018 that

they had no feedback on the substance of the draft IM status report but continued to lodge

their objections to the recommendations in the draft status report. Specifically, the LDOE

responded that “the report again suggests that sufficient compliance to exit the Consent

Judgment is one year plus 2 years of consecutive compliance. State Defendants disagree

and assert that the standard has always been 2 years of consecutive compliance, not 3.” In

addition, the State Defendants also asserted that OPSB will be required to provide some of




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the technical assistance outlined in the Consent Judgment given that the LDOE will no

longer be the authorizer of the Recovery School District LEAs after July 1, 2018. Finally,

the State Defendants suggested that “clarity from the Court” is still needed regarding the

transition of responsibilities of the State Education Agency to OPSB under the terms of the

Consent Judgment. The Independent Monitors have thoroughly reviewed and carefully

considered the responses provided by each party and made relevant revisions to the final

IM status report submitted to the Court and Counsel for the Plaintiff Class, State

Defendants, and Defendant-Intervenor.

     Pursuant to Section V(9)(b) of the CJ, the Independent Monitors shall evaluate the

state of compliance for each relevant provision of the Agreement using the following

standards: (1) Substantial Compliance and (2) Noncompliance. To assess compliance, the

Monitor shall review a sufficient number of pertinent documents to accurately assess

compliance and interview any necessary staff or personnel. The Monitor shall also be

responsible for independently verifying representations from the State Defendants or

Defendant-Intervenor regarding progress toward compliance and examining supporting

documentation. Each Monitor report shall describe the steps taken by the Monitor to assess

compliance, including documents reviewed and individuals interviewed, and the factual

basis for each of the Monitor’s findings. Pursuant to Section V(10) of the CJ, reports issued

by the Monitor shall not be admissible against the State Defendants and the Defendant-

Intervenor in any proceeding other than a proceeding related to the enforcement of this

Agreement initiated and handled exclusively by the State Defendants, the Defendant-

Intervenor, or the Plaintiff’s counsel. The State Defendants shall be released from the terms

of the CJ when they have 1) achieved Substantial Compliance with each provision of the




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 Agreement for which they are assigned responsibility; 2) maintained Substantial

 Compliance for a period of two years; and 3) subject to Court approval (p. 18 of the CJ).

       The current IM status report addresses activities completed by the State Defendants

 during the 2017-2018 school year as required by the CJ. The IMs provide a summary of the

 targeted monitoring activities completed during the fall 2017 semester along with an

 overview of the specific findings observed across LEAs selected for targeted monitoring in

 the areas of Child Find, Related Services, Discipline and Enrollment with regard to specific

 areas of IDEA compliance. In addition, the IMs also provide a summary “Substantial

 Compliance” or “Noncompliance” decisions as related to specific monitoring activities

 undertaken by the LDOE (e.g., appropriate selection of schools, completion of staff

 interviews and student file reviews, development and dissemination of LEA targeted

 monitoring reports, development, and dissemination of corrective action plans). The

 sequence of information in this IM status report follows the general structure of the CJ.

 Language from each substantive provision of the Agreement or Addendum A (i.e.,

 monitoring protocols) outlined in the CJ is incorporated into the IM status report, when

 appropriate.

TARGETED MONITORING ACTIVITIES FOR THE FALL 2017 SEMESTER
OF THE 2017-2018 SCHOOL YEAR

   Overview of Targeted Monitoring Activities for the Fall 2017 Semester

       The CJ requires that the LDOE engage in specific monitoring activities for LEAs

selected for targeted monitoring annually. As such, the IMs report the activities and decisions

made by the LDOE as related to the required monitoring activities for schools identified for

targeted monitoring during the fall 2017 school term for each relevant provision of the CJ.

However, an overview of the monitoring procedures used by the LDOE is provided here to


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assist readers in understanding the process that was used to complete targeted monitoring as

required by the CJ. Additional information is also included in each relevant section of the

status report.

        School selection for each area of targeted monitoring was completed by LDOE

monitoring personnel using calculation rates outlined in Addendum A of the CJ (p. 1 for Child

Find, p. 3 for Related Services, p. 4 for Discipline, p. 6 for Enrollment Stability) in August

2017. Each LEA was elected for targeted monitoring by the LDOE from an analysis of relevant

data (i.e., initial IDEA evaluations, rates of related service provisions, discipline outcomes, and

enrollment stability rates) for the 2016-2017 school year. These LEAs were sent a notification

email from LDOE Director of State-wide Monitoring on October 10, 2017 (see the Appendix

for a copy of each email). This notification provided an overview of the requirements for

targeted monitoring pursuant to the CJ, the specific areas in which the charter was being

monitored, methods of monitoring (e.g., student file selection, staff interviews, student file

reviews), LDOE contact personnel, the specific date of interviews with staff, instructions for

the on-site monitoring visit, and copies of the staff interview questions and student file review

protocols. In addition, on October 12, 2017 the LDOE notified selected LEAs via email

reminding school leaders of the upcoming monitoring activities and provided all LEAs with a

power point presentation that covered all LDOE monitoring activities. Planning phone calls

were conducted by LDOE monitoring personnel on October 17, 2017 for eleven of twelve

charter LEAs and one LEA on November 29, 2017 with school leaders from each LEA to

assist school personnel in understanding the CJ requirements for targeted monitoring and to

answer any questions or address any concerns. The protocols along with the relevant IDEA or

Bulletin 1508 legal citation are provided in the Appendix for review.



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       LDOE monitoring personnel submitted the targeted monitoring schedule for the fall

2017 school term to the IMs on September 27, 2017 and a revised schedule was submitted on

October 3. 2017. The LDOE also submitted contact information for LEAs selected for targeted

monitoring on November 1, 2017. In addition, the LDOE also submitted the rosters of

randomly-selected students from each LEA targeted for monitoring on November 20, 2017

and November 27, 2017.

       LDOE monitoring personnel and the IMs conducted on-site staff interviews and

student file reviews from December 4-17, 2017 using documents required by the CJ (see staff

interview questionnaires and student file review protocols in the Appendix). The IMs and

LDOE monitoring personnel scored student file review protocols independently during the on-

site visits and reconciled any scoring differences during the on-site monitoring visits or during

conference calls held on December 20, 2017. Based on agreements among all parties during a

meeting held on September 22, 2016, compliance determinations for individual students shall

be consistent with the 100% compliance standard outlined in the IDEA. That is, during all

targeted monitoring activities, any single finding of noncompliance for any specific IDEA

regulation being assessed for an individual student was judged to reflect noncompliance and

required immediate individual corrective action (i.e., student-specific areas of noncompliance

outlined in the IDEA Monitoring Summary and individual corrective actions as part of the

LEA Corrective Action Plan). Similarly, all parties agreed that systemic noncompliance would

be determined when less than 80% of the student sample failed to meet the 100% individual

student compliance standard for any IDEA requirement evaluated on the CJ protocol and

would result in mandatory systemic corrective actions (i.e., Corrective Action Plan or

Intensive Corrective Action Plan) for the LEA.




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       The LDOE monitoring personnel completed the monitoring reports for each targeted

LEA during the months of December 2017 and January 2018 and submitted draft reports to

the IMs on January 23, 2018 and January 26, 2018. The IMs reviewed the monitoring

reports and provided feedback regarding specific findings of noncompliance in relation to

IDEA regulations and student-specific findings of noncompliance on February 2, 2018. In

relation, the LDOE monitoring personnel developed the Corrective Action Plans (CAPs) for

each LEA during January-February 2018 and submitted to the IMs on February 9, 2018.

The IMs provided feedback regarding the CAPs on February 20, 2018. The IMs and LDOE

monitoring personnel participated in a conference call to discuss the IMs edits to the CAPs

on February 27, 2018.

       The IMs review and feedback focused on ensuring the corrective strategies outlined

in the CAPS were reasonably sufficient, presuming adequate levels of implementation

fidelity, to lead to overall sustained improvements and compliance for IDEA and/or Bulletin

1508 practices in the areas of Child Find, Related Services, Discipline and Enrollment

across targeted LEAs. Specifically, the IMs reviewed all submitted CAPs to ensure that the

professional development and technical assistance activities strategically addressed each

finding of systemic or student-specific noncompliance. In relation, the IMs evaluated the

CAPs to ensure that on-going corrective and supportive feedback would be provided by

LDOE monitoring personnel to assist in promoting skill development of faculty in a

developmental nature across time. Finally, the IMs reviewed the CAPs to ensure that the

LEAs would be providing appropriate documentation to assist LDOE monitoring personnel

in evaluating both the compliance and quality of their practices in relation to federal and

state regulations as well as requirements outlined in the CJ.




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       The LDOE submitted cover letters, final monitoring reports with recommendations

for improvement, specific findings of noncompliance in relation to IDEA violations, and

CAPs to the IMs on April 16, 2018. These documents are in the Appendix for review by all

parties. The LDOE submitted notification emails for technical assistance meetings with the

LEAs to review the results of the monitoring reports, results summaries, and corrective

action plans on April 26, 2018. Finally, LDOE monitoring personnel held on-site technical

assistance meetings with the targeted LEAs to review the findings of systemic

noncompliance and student-specific noncompliance and to discuss the structure and

activities of the CAPs from May 8-10, 2018 and May 17, 2018. These notifications were

submitted to the IMs for review on April 26, 2018 and are also located in the Appendix for

review by the parties. Revisions were made to the CAPs following these required meetings

to identify the persons responsible for completing the CAP activities and action steps for

compliance, specify the required documentation to be submitted to statewide monitoring

personnel, documentation due dates, and revision to corrective activities and/or action

steps, if appropriate. The revised CAPs were submitted to the IMs by statewide monitoring

personnel on May 24, 2018 and are included in the Appendix for review by the parties.

       The IMs review of compliance with the targeted monitoring provisions of the CJ for

the fall semester of the 2017-2018 school year consisted of an evaluation of three

components of the LDOE’s monitoring activities. Specifically, the components being

assessed for compliance included: (1) Correct identification of the charter schools selected

for targeted monitoring (e.g., determination of the annual new identification rate for each

LEA, and evaluation of the LDOE calculations); (2) Completion of targeted monitoring

activities by the LDOE as required by the CJ and Addendum A to the CJ (e.g., completion of




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appropriate monitoring activities by the LDOE, completion of staff interviews, appropriate

selection of student files, appropriate completion of the monitoring protocols, and correct

identification of systemic or individual compliance and/or noncompliance) and (3)

Development of appropriate corrective actions “sufficient to remedy the noncompliance and

to reasonably ensure that such noncompliance does not reoccur.” (pp. 7, 9, 11, 14 of CJ). As

such, the IM status report provides a review of these monitoring activities for each LEA

selected for targeted monitoring under each area of the CJ (e.g., Child Find, Related

Services, Discipline, and Enrollment) along with IM determinations regarding compliance

with the monitoring provisions of the CJ. An overall summary regarding targeted monitoring

activities and professional recommendations are provided at the conclusion of this report in

addition to a brief update regarding targeted monitoring activities that occurred during the

spring 2018 semester.

   A. CHILD FIND

   1. Targeted Monitoring Activities for the Child Find Provisions

        Three schools were selected for targeted monitoring during the fall 2017 school

semester based on an analysis of 2016-2017 child find data. The IMs reviewed the

documentation and calculations performed by LDOE monitoring personnel and confirmed

that the schools were selected for targeted monitoring in a manner consistent with the

requirements outlined on page 7 of the CJ and page 1 of Addendum A of the CJ. The

schools selected for targeted monitoring during the fall 2017 semester included Audubon

Elementary School, Mary Bethune Elementary School and Warren Easton Senior High

School. A review of findings for each school is presented below.




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       a. Audubon Charter School

       The on-site targeted monitoring visit occurred on December 4, 2017. Two LDOE

representative and two IMs were present during the entire on-site visit to conduct staff

interviews and review student files. The staff interviews were conducted using a standard

bank of questions with staff members consistent with requirements outlined in sections 4(a)

and 4(b) on page 2 of Addendum A of the CJ. The specific staff members who participated

in the interview process are reported on page 3 of the LDOE monitoring report. Faculty at

Audubon Charter School clearly articulated their responses regarding the Child Find

process and provided satisfactory answers to all interview questions. No specific areas of

concern were identified from the interview as school staff demonstrated comprehensive

knowledge of state policies and procedures. A detailed summary of staff responses is

presented on pages 3 of the LDOE monitoring report located in the Appendix.

       A representative sample of eleven student files for students enrolled in sixth-eighth

grade were reviewed by the LDOE monitoring personnel and IMs in a manner consistent

with the requirements outlined in section 2(a) on page 1 of Addendum A of the CJ.

Specifically, the sample consisted of five students (45% of the sample) who had Section 504

plans, five students (45% of the sample) who were participating in the Response to

Intervention (RTI process) and one student (9% of the sample) who was under consideration

by the School Building Level Committee (SBLC). Student file reviews were conducted by

LDOE monitoring personnel and IMs in a manner consistent with the requirements outlined

in section 3(a) on page 2 of Addendum A of the CJ using the required Child Find protocol.

Please refer to page 4 of the LDOE monitoring report for Audubon Elementary School in

the Appendix for a list of items that were reviewed to complete the Child Find protocol for




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the sample of students. A review of student records revealed that one of eleven student files

(9% of the sample) was judged to be in noncompliance regarding Child Find activities. In

relation, the student-specific findings of noncompliance are listed on page 2 of the 2017-

2018 IDEA monitoring results summary. Overall, no areas of systemic noncompliance were

identified for this LEA under IDEA, Part B program during the fall 2017 on-site targeted

monitoring visit.

       b. Mary McLeod Bethune Elementary School of Literature and Technology

       The on-site targeted monitoring visit occurred on December 5, 2018. Two LDOE

representatives and two IMs were present during the entire on-site visit to conduct staff

interviews and review student files. The staff interviews were conducted using a standard

bank of questions with staff members consistent with requirements outlined in sections 4(a)

and 4(b) on page 2 of Addendum A of the CJ. The specific staff members who participated

in the interview process are reported on page 3 of the LDOE monitoring report. Faculty at

Mary Bethune Elementary School clearly articulated their responses regarding the Child

Find process and provided satisfactory answers to all interview questions. No specific areas

of concern were identified from the interview as school staff demonstrated thorough

awareness of state policies and policies and procedures. A detailed summary of staff

responses is presented on pages 3-4 of the LDOE monitoring report located in the

Appendix.

       A representative sample of twenty-six student files for students enrolled in

Kindergarten-Fifth grade were reviewed by the LDOE monitoring personnel and IMs in a

manner consistent with the requirements outlined in section 2(a) on page 1 of Addendum A

of the CJ. Specifically, the sample consisted of nine students (35% of the sample) who had



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Section 504 plans, ten students (38% of the sample) who were participating in the Response

to Intervention (RTI process), three students (12% of the sample) who were under

consideration by the School Building Level Committee (SBLC), and four students (15% of

the sample) who experienced course failures and had a Section 504 plan (2 students) or were

participating in the RTI process (2 students). Student file reviews were conducted by LDOE

monitoring personnel and IMs in a manner consistent with the requirements outlined in

section 3(a) on page 2 of Addendum A of the CJ using the required Child Find protocol.

Please refer to page 4 of the LDOE monitoring report for Mary McLeod Bethune

Elementary School of Literature and Technology in the Appendix for a list of items that

were reviewed to complete the Child Find protocol for the sample of students. A review of

student records revealed that eight of twenty-six student files (31% of the sample) were

judged to be in noncompliance regarding Child Find activities. Specific IDEA, Bulletin

1508 and/or Section 504 systemic violations are reported on page 4 of the LDOE monitoring

report and page 2 of the 2017-2018 IDEA monitoring results summary located in the

Appendix. In relation, student-specific findings of noncompliance are listed on page 3 of the

2017-2018 IDEA monitoring results summary. Overall, systemic noncompliance was

identified for this LEA under IDEA, Part B program using Bulletin 1508 (Pupil Appraisal

Handbook) in one area. Specifically, four of twelve applicable Section 504 student files

(33% of the sample) were judged to reflect noncompliance with the requirement that the

student receive specially designed instruction if indicated by the student’s educational

records (Section 504-§104.35(b).

       c. Warren Easton Senior High School

       The on-site targeted monitoring visit occurred on December 6, 2017. Two LDOE




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representative and two IMs were present during the entire on-site visit to conduct staff

interviews and review student files. The interviews were conducted using a standard bank of

questions with staff members consistent with requirements outlined in sections 4(a) and 4(b)

on page 2 of Addendum A of the CJ. The specific staff members who participated in the

interview process are reported on page 3 of the LDOE monitoring report. A review of the

LDOE monitoring report revealed systemic and student-specific non-compliance an in the area

of Child Find. Specifically, “team members described the school’s School Building Level

Committee (SBLC) process in a vague and inconsistent manner that reflected a lack of

implementation of state policies and those established in the school’s SBLC policies and

procedures manual.” In relation, the “lack of routine practices to document team problem-

solving based on the review of quality data and the evaluation of intervention efforts through

SBLC and/or Response to Intervention (RTI) processes was of particular concern.” Finally,

academic and behavioral interventions did not “appear to be provided based on an established

team-based decision-making process or defined multi-tiered system of support.” A detailed

summary of staff responses is presented on pages 3-4 of the LDOE monitoring report located

in the Appendix.

       A representative sample of twenty-nine student files were reviewed by the LDOE

monitoring personnel and IMs in a manner consistent with the requirements outlined in

section 2(a) on page 1 of Addendum A of the CJ. Specifically, the sample consisted of

twenty-three students (79% of the sample) who had Section 504 plans, five students (17%

of the sample) who experienced course failures and had a Section 504 plan and/or were

participating in the RTI process, and one student (3% of the sample) who had a Section 504

plan who was also participating in the RTI process. Student file reviews were conducted by




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LDOE monitoring personnel and IMs in a manner consistent with the requirements outlined

in section 3(a) on page 2 of Addendum A of the CJ using the required Child Find protocol.

Please refer to page 4 of the LDOE monitoring report for Warren Easton Senior High

School in the Appendix for a list of items that were reviewed to complete the Child Find

protocol for the sample of students. A review of student records revealed that twenty-seven

of twenty-eight student files (96% of the sample) were judged to be in noncompliance

regarding Child Find activities. Specific IDEA, Bulletin 1508 and/or Section 504 systemic

violations are reported on pages 4-5 of the LDOE monitoring report and pages 1-3 of the

2017-2018 IDEA monitoring results summary located in the Appendix. In relation, student-

specific findings of noncompliance are listed on pages 4-10 of the 2017-2018 IDEA

monitoring results summary. Overall, systemic noncompliance was identified for this LEA

under IDEA, Part B program using Bulletin 1508 (Pupil Appraisal Handbook) in five areas.

Specifically, sixteen of sixteen applicable student files (100% of the sample) were found to

be in noncompliance with the requirement that the school fully implemented the three tiers

of instruction and intervention with measured levels of integrity, used standard protocols

and/or problem solving methods, and used an integrated data collection or assessment

system to inform decisions about student response to intervention at each tier of instruction

or intervention (Bulletin 1508-§301 Response to Intervention; IDEA-§300.306(a)(1) and

§300.308). Five of eleven applicable files (45% of the sample) were found to be in

noncompliance with the requirement that the School Building Level Committee (SBLC)

consisted of documented, required standing committee members and invited participants

who review and analyze all screening data, including RTI results, to determine the most

beneficial option for the student (Bulletin 1508-§303 School Building Level Committee).




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Twenty-six of twenty-seven applicable student files (96% of the sample) were judged to

reflect noncompliance with the requirement that the SBLC coordinated and documented the

results of all required screening activities completed by general education personnel with

the assistance from other school personnel (Bulletin 1508-§305 Screening Activities).

Fifteen of fifteen applicable student files (100% of the sample) were found to be in

noncompliance with the requirement that the student be referred to the SBLC for

consideration of an initial evaluation within a reasonable amount of time if the student did

not maintain expected progress while participating in the RTI process (Bulletin 1508-§303

SBLC Referral Process; IDEA-§300.309(c). Fifteen of twenty-seven applicable Section 504

student files (56% of the sample) were judged to reflect noncompliance with the

requirement that the student receive specially designed instruction if indicated by the

student’s educational records (Section 504-§104.35(b).

        2. Corrective Actions to Address Identified Areas of Noncompliance

       Overall, systemic noncompliance was identified in one area (e.g., Specially Designed

Instruction) for two of three charter schools targeted for monitoring during the fall 2017

semester (e.g., Mary McLeod Bethune Elementary School of Literature and Technology;

Warren Easton Senior High School). In addition, systemic noncompliance was also identified

in four additional areas for Warren Easton Senior High School (e.g., SBLC Representation,

Response to Intervention Activities, Screening Activities, and Evaluation Activities). Given

the identified systemic and student-specific findings of noncompliance under IDEA, Part B,

and Bulletin 1508, two of three charter schools (66% of the sample) required a formal CAP.

As required by the CJ, the LDOE developed a CAP to address each area of identified systemic

noncompliance or student-specific noncompliance listed in the LDOE monitoring report and




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2017-2018 IDEA monitoring summary for each LEA. Specifically, the revised CAPs for Mary

McLeod Bethune Elementary School of Literature and Technology and Warren Easton Senior

High School included fifteen activities of corrective action (e.g., 1.0 correction of student-

specific findings of noncompliance; 1.1 professional development provided by the LDOE

regarding federal and state Child Find requirements and requirements outlined in the PB v

White Child Find Written Guidance document, Section 504 eligibility requirements, and data-

based decision making within the RTI process; 1.2 monitor regular education students meeting

various academic, attendance, discipline and/or medical concerns; 1.3 development of a Child

Find Log; 1.4 appropriate referral activities and documentation; 1.5 appropriate completion

and documentation of SBLC activities using LDOE forms; 1.6 provide training to school staff

on RTI procedures following the provision of training from the LDOE; 1.7 appropriate

monitoring of students in the RTI process; 1.8 evaluation of student progress by SBLC team

after specified intervention periods to determine student response to intervention; 1.9

development of progress monitoring form and/or use of progress monitoring program to

evaluate student progress during intervention cycles; 1.10 provision of training to school staff

on Section 504 procedures following the provision of training by the LDOE; 1.11 develop and

follow eligibility criteria to determine if the identified student qualifies for Section 504

services; 1.12 develop and follow Section 504 procedures and guidelines consistent with

federal and state policies; 1.13 use of universal forms by school personnel to document the

Section 504 process; 1.14 SBLC/Section 504 Coordinator will monitor grades of all Section

504 students AND students in RTI each grading period; 1.15 SBLC and/or Section 504

Coordinator will monitor behavior data for student in the RTI process, Section 504 students

with behavior concerns, and students identified through the universal behavior screening




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process at Tier 1). A copy of the revised CAP for each charter school is in the Appendix for

review by the parties. A review of the revised CAPs by the IMs revealed that the documents

include corrective actions consistent with requirements outlined on page 2 of Bulletin 1922

(Louisiana Administrative Code March 2017 Part XCI. Compliance Monitoring Procedures)

and in section IV(A)(3) on page 7 of the CJ.

       3. Status of Compliance

       After participating in the on-site monitoring visits for the charter schools selected for

targeted monitoring and reviewing documentation submitted by the LDOE monitoring

personnel (e.g., monitoring notifications, LDOE monitoring reports, 2017-2018 IDEA

monitoring results summaries, corrective action plans, technical assistance notifications) and

discussing the targeted monitoring activities with LDOE legal counsel and monitoring

personnel during conference calls and on-site meetings during throughout the fall 2017

semester and spring 2018 semester, the LDOE is judged to be in Substantial Compliance

with Section IV(A)(3)(a-b) and Sections A(1)(a-c) through 5(a) of Addendum A of the CJ for

the fall 2017 semester of the 2017-2018 school year. Additional evaluations of compliance in

the area of Child Find will be summarized again in forthcoming IM status reports. These

updates will specifically discuss the follow-up, on-site targeted monitoring activities and

findings for charter schools who have been undergoing corrective actions and/or intensive

corrective actions during the 2016-2017 and 2017-2018 school years.

       B. RELATED SERVICES

   1. Targeted Monitoring Activities for the Enrollment Stability Provisions

       Three schools were selected for targeted monitoring during the fall 2017 semester

based on an analysis of 2016-2017 related service provision rates for NOLA Type 2 and

Type 5 Charter schools and OPSB LEAs. The IMs reviewed the documentation and


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calculations performed by LDOE monitoring personnel and confirmed that the schools were

selected for targeted monitoring in a manner consistent with the requirements outlined on

page 8-9 of the CJ and pages 2-3 of Addendum A of the CJ. The schools selected for

targeted monitoring during the fall 2017 semester included Cypress Academy, Livingston

Collegiate Academy and James M. Singleton Charter School. A review of findings for each

school is presented below.

       a. Cypress Academy

       The on-site targeted monitoring visit occurred on December 4, 2017. One LDOE

representative and one IM were present during the entire on-site visit to conduct staff

interviews and review student files. The staff interviews were conducted using a standard

bank of questions with staff members consistent with requirements outlined in sections

B(4)(a) and B (4)(b) on page 3-4 of Addendum A of the CJ. The specific staff members

who participated in the interview process are reported on page 3 of the LDOE monitoring

report. Faculty at Cypress Academy reported the use of a “whole-child approach” to

addressing the educational needs of their students. Referral concerns from teachers, parents,

and service providers are considered during the evaluation process. Furthermore, faculty

reported that a “push-in, pull-out” model is used to provide related services to students. In

relation, related service providers are responsible for keeping logs to document the full

provision of services for students. Additionally, most of the service providers for Cypress

Academy are employed by OPSB Exceptional Children’s Services (ECS). In relation, OPSB

coordinates the procurement of providers and assigns them to individual schools based on

student population and specific referral concerns. Finally, school personnel reported that

data from assessments such as MAP, LEAP, and the Brigance Inventory of Early




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Development are used to identify specific skills for instruction and remediation. In general,

Cypress Academy faculty clearly communicated their responses regarding the required

IDEA mandates for provision of Related Services and provided satisfactory responses to the

interview questions. A summary of staff responses is presented on pages 3-4 of the LDOE

monitoring report.

       A representative sample of ten student files were reviewed by the LDOE monitoring

personnel and IMs in a manner consistent with the requirements outlined in section B(2)(a)

and B(2)(b) on page 3 of Addendum A of the CJ. The sample of ten students reviewed

included the following exceptionalities: nine students with an exceptionality of Autism and

one student with an exceptionality of Other Health Impaired. Related Service provisions

included Speech Therapy (9 students), Counseling Services (3 students), Adaptive PE (4

students) and Occupational Therapy (3 students).

       Student file reviews were conducted by LDOE monitoring personnel and IMs in a

manner consistent with the requirements outlined in section B(3)(a) on page 3 of

Addendum A of the CJ using the required Related Service protocol. Refer to page 4 of the

LDOE monitoring report for Cypress Academy in the Appendix for a list of items that were

reviewed to complete the Related Service protocol for the sample of students. A review of

student records revealed that ten of ten student files (100% of the sample) were judged to

be in noncompliance regarding Related Service provisions. Specific IDEA systemic

violations are reported on pages 4-5 of the LDOE monitoring report and pages 2-4 of the

2017-2018 IDEA monitoring results summary located in the Appendix. In relation, student-

specific findings of noncompliance are listed on pages 5-9 of the 2017-2018 IDEA

monitoring results summary. Overall, systemic noncompliance was identified for this LEA




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under IDEA, Part B in five areas. Specifically, ten of ten applicable student files (100% of

the sample receiving related services) were found to be in noncompliance with the

requirement that the student receive a Free Appropriate Public Education (FAPE) as

outlined in federal legislation (IDEA-§300.17(a.-d.). Similarly, ten (10) of ten (10)

applicable student files reviewed (100% of the sample) reflected systemic noncompliance

regarding appropriate and meaningful statements of students’ present levels of academic

achievement and functional performance as required under IDEA §300.320(a)(1)(i)(2)(i)-

Definition of Individualized Education Program. In relation, ten (10) of ten (10) applicable

student files reviewed (100% of the sample) lacked required components of a standards-

based IEP also indicating systemic noncompliance regarding standards-based IEP goals as

required under IDEA §300.320(a)(2) Definition of Individualized Education Program.

Finally, five (5) of eight (8) applicable student files reviewed (62 % of the sample)

indicated that students did not participate with non-disabled peers to the maximum extent

appropriate. This reflects systemic noncompliance regarding LRE for §300.320(a)(5).

IDEA – Definition of an Individualized Education Program. Finally, one (1) of ten (10)

applicable student files reviewed (10% of the sample) indicated that appropriate staff were

not directly involved in IEP decisions. This reflects student-specific noncompliance rather

than systemic concerns for this LEA regarding staff participation requirements under IDEA

§300.321(a)-(b)-IEP Team.

       b. Livingston Collegiate Academy

       The on-site targeted monitoring visit occurred on December 6, 2017. One LDOE

representative and one IM were present during the entire on-site visit to conduct staff interviews

and review student files. The staff interviews were conducted using a standard bank of questions




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with staff members consistent with requirements outlined in section B(4)(a) and B(4)(b) of page

3 of Addendum A of the CJ. The specific staff members who participated in the interview process

are reported on page 3 of the LDOE monitoring report. Faculty at Livingston Collegiate Academy

articulated how related services are provided to students to ensure the provision of a free

appropriate public education (FAPE). Reportedly, a variety of sources including diagnostic

assessments, MAP and ELA assessments as well as teacher screenings are currently used to

determine if a student requires related services. Faculty and staff reported taking steps to ensure

that students are not pulled from core curriculum subjects by creating a tutorial block during the

school day. Students are reportedly progress monitored every nine (9) weeks to evaluate

academic growth. These data are placed in student files and later by faculty used to “drive

decisions” regarding student performance and/or need for interventions or related service

provisions. A summary of staff responses in presented on page 3 of the LDOE monitoring report.

       A sample of ten student files were reviewed by the LDOE monitoring personnel

and IMs in a manner consistent with the requirements outlined in section B(2)(a) and

B(2)(b) on page 3 of Addendum A of the CJ. The sample of ten students reviewed

included four students with an exceptionality of Autism, three students with an

exceptionality of Intellectually Disabled, one student with an exceptionality of Multiple

Disabilities and two students with an exceptionality of Other Health Impaired. Related

Services provided included Adaptive PE (4 students), Occupational Therapy (4 students),

Speech Therapy (8 students) and Social Work Services (10 students).

       Targeted file reviews were conducted by LDOE monitoring personnel and IMs in a

manner consistent with the requirements outlined in section B(3)(a) on page 3 of Addendum

A of the CJ using the required Related Service protocol. Please refer to page 4 of the LDOE




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monitoring report for Livingston Collegiate Academy in the Appendix for a list of items

that were reviewed to complete the Related Service protocol for the sample of students. A

review of student records revealed that eight (8) of ten (10) student files reviewed (80% of

the sample) were judged to be in noncompliance regarding Related Service provisions.

Specific IDEA systemic violations are reported on pages 4-5 of the LDOE monitoring

report and pages 2-3 of the 2017-2018 IDEA monitoring results summary located in the

Appendix. In relation, student-specific findings of noncompliance are listed on pages 4-5 of

the 2017-2018 IDEA monitoring results summary. Overall, systemic noncompliance was

identified for this LEA under IDEA, Part B in three areas. Specifically, eight (8) of ten (10)

student files reviewed (80% of the sample) were judged to reflect noncompliance in the

provision of FAPE which reflects systemic noncompliance for IDEA §300.17(a.-d.)- Free

Appropriate Public Education (FAPE). Similarly, eight of ten (10) applicable student files

reviewed (80% of the sample) indicated systemic noncompliance regarding appropriate and

meaningful statements of students’ present levels of academic achievement and functional

performance as required under IDEA §300.320(a)(1)(i)(2)(i) - Definition of Individualized

Education Program. Finally, seven (7) of ten (10) student files reviewed (70% of the

sample) failed to include the required components of standards-based measurable annual

goals and objectives indicating systemic noncompliance regarding this requirement under

IDEA §300.320(a)(2) - Definition of Individualized Education Program.

       c. James M. Singleton Charter School

       The on-site targeted monitoring visit occurred on December 7, 2017. One LDOE

representative and one IM were present during the entire on-site visit to conduct staff

interviews and review student files. The staff interviews were conducted using a standard




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bank of questions with staff members consistent with requirements outlined in sections

B(4)(a) and B(4)(b) on page 4-5 of Addendum A of the CJ. The specific staff members who

participated in the interview process are reported on page 3 of the LDOE monitoring report.

Faculty at James M. Singleton Charter clearly articulated the LEA’s process for related

services provisions for students with disabilities. Staff described using a variety of sources

including teacher and parent referrals, classroom observations, and assessment data to

determine the need for related services on student’s individual needs. To prevent the loss of

instructional time, staff reported reviewing student schedules and collaborating with service

providers to schedule service provisions during non-instructional periods to the maximum

extent possible. A summary of staff responses is presented on pages 3-4 of the LDOE

monitoring report.

       A representative sample of ten student files were reviewed by the LDOE

monitoring personnel and IMs in a manner consistent with the requirements outlined in

section B(2)(a) and B(2)(b) on page 3 of Addendum A of the CJ. The sample of ten

students reviewed included eight students with an exceptionality of Intellectually Disabled,

one student with an exceptionality of Autism and one student with an exceptionality of

Multiple Disabilities. Related Service provisions included Speech Therapy (8 students),

Adaptive PE (2 students), Orientation-Mobility Services (1 student), Social Work Services

(4 students), Physical Therapy (1 student) and Occupational Therapy (4 students).

       Targeted file reviews were conducted by LDOE monitoring personnel and IMs in a

manner consistent with the requirements outlined in section B(3)(a) on page 3 of Addendum

A of the CJ using the required Related Service protocol. Please refer to page 4 of the LDOE

monitoring report for James M. Singleton Charter School in the Appendix for a list of items



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that were reviewed to complete the Related Service protocol for the sample of students. A

review of student records revealed that ten of ten student files reviewed (100% of the

sample) were judged to be in noncompliance regarding Related Service provisions. Specific

IDEA systemic violations are reported on pages 4-5 of the LDOE monitoring report and

pages 2-4 of the 2017-2018 IDEA monitoring results summary located in the Appendix. In

relation, student- specific findings of noncompliance are listed on pages 5-8 of the 2017-

2018 IDEA monitoring results summary. Overall, systemic noncompliance was identified

for this LEA under IDEA, Part B in five areas. Specifically, ten (10) of ten (10) applicable

student files reviewed (100% of the sample) were judged to reflect noncompliance for

failure to provide FAPE and reflects systemic concerns under IDEA §300.17(a.-d.) Free

Appropriate Public Education (FAPE). Similarly, ten (10) of ten (10) applicable student

files reviewed (100% of the sample) were judged to reflect concerns related to the LEA’s

appropriately and meaningfully describing students’ present levels of academic and

functional performance. This reflects systemic noncompliance under IDEA

300.320(a)(1)(i)(2)(i)- Definition of Individualized Education Program. Ten of ten (10)

applicable student files reviewed (100% of the sample) were also judged to reflect

noncompliance in the area of developing meaningful and measurable standards-based

annual goals and objectives. As such, this reflects systemic noncompliance under

IDEA§300.320(a)(2) and 300.160(5a)(b2ii)(c-9) Definition of Individualized Education

Program. Three (3) of ten (10) applicable student files reviewed (30% of the sample of

students receiving related services) were judged to reflect concerns for failing to accurately

document and maintain updated service provision logs. This reflects systemic

noncompliance under IDEA §300.320(a)(4) and (7) - Definition of an Individualized




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Education Program. Similarly, four of ten (10) applicable student files reviewed (40% of

the sample of students receiving related services) were judged to reflect concerns related to

the LEA’s failure to ensure that all appropriate team members participated in IEP meetings.

As such, this reflects systemic noncompliance under IDEA §300.321(a)-(b)-IEP Team.

Finally, with regard to providing an explanation regarding student non-participation with

non-disabled peers to the maximum extent possible, one of five (5) applicable student files

reviewed (20% of the sample) was judged to reflect noncompliance for this IDEA

requirement. This reflects student-specific noncompliance rather than systemic concerns for

this requirement under IDEA §300.320(a)(5). – Definition of an Individualized Education

Program.

     2. Corrective Actions to Address Identified Areas of Noncompliance

       Overall, systemic noncompliance was consistently identified in three areas across

all LEA’s targeted in the area of Related Services. (i.e. FAPE provisions, development of

appropriate and meaningful description of students’ present levels of academic and

functional performance and development of meaningful and measurable annual goals and

objectives). One LEA, James M. Singleton Charter School, also demonstrated additional

systemic noncompliance with IDEA requirements related to (a) maintaining accurate and

updated related service provision logs and (b) ensuring that all appropriate team members

participated in IEP meetings.

       Given the identified systemic and student-specific findings of noncompliance under

IDEA, Part B, all three charter schools (100% of the sample) required a formal CAP to

address identified concerns. As required by the CJ, the LDOE developed a CAP to address

each area of identified systemic noncompliance or student-specific noncompliance listed in



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the LDOE monitoring reports and 2016-2017 IDEA monitoring summaries for Cypress

Academy, Livingston Collegiate Academy and James M. Singleton Academy. Specifically,

the revised CAPs for all LEAs targeted in the area of Related Services included five

activities for corrective action (e.g., 1.1 immediate correction of all student specific IDEA

citations identified in the Results Summary Report; 1.2 mandated training for special

education staff (special education teachers and related service providers) on writing

compliant IEPs; 1.3/1.4 ongoing training conducted by LEA in the following areas: IEP

writing, provision and documentation of accommodations, documenting special education

services and progress monitoring of student data; 1.4/1.5 mandated monthly consistency

checks by the Special Education Coordinator or Lead Teacher to ensure IEP fidelity and

1.5/1.7 mandated completion of LDOE IEP Training Modules with particular focus on

Module 2 (Data-Driven Present Levels of Performance) and Module 3 (Measurable Goals).

In addition, the revised CAP for James M. Singleton includes three additional activities for

corrective action. These activities include the following activities and related action steps:

1.3 mandated training(s) for all related service providers on how to properly document

provision of services to students; 1.6 required monthly consistency checks conducted by

the Director of Special Education and/or Lead Teacher to ensure related service provider

logs are completed with fidelity and 1.8 provision of compensatory education (i.e. related

service minutes) to students whose files did not include documentation verifying they had

received the required related services outlined in student IEPs).

       A copy of the revised CAPs to address areas of noncompliance for Related Service

provisions for Cypress Academy, Livingston Collegiate Academy and James M. Singleton

Charter School are available in the Appendix for review by the parties. A review of the




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revised CAPs by the IMs revealed that the documents include corrective actions consistent

with requirements outlined on page 2 of Bulletin 1922 (Louisiana Administrative Code March

2017 Part XCI. Compliance Monitoring Procedures) and in section IV(C)(5) on pages 8-9 of

the CJ.

     3. Status of Compliance

          After participating in the on-site monitoring visits for the charter schools selected for

targeted monitoring and reviewing documentation submitted by the LDOE monitoring

personnel (e.g., monitoring notifications, LDOE monitoring reports, 2017-2018 IDEA

monitoring results summaries, corrective action plans, technical assistance notifications) and

discussing the targeted monitoring activities with LDOE legal counsel and monitoring

personnel during conference calls and on-site meetings during throughout the fall 2017

semester and spring 2018 semester, the LDOE is judged to be in Substantial Compliance

with Section IV(B)(2)(a-b) of the CJ and Sections B(1)(a-c) through 5(a) of Addendum A of

the CJ for the fall 2017 semester of the 2017-2018 school year. Additional evaluations of

compliance in the area of Related Services will be summarized in forthcoming IM status

reports. Specifically, these updates will discuss the follow-up, on-site targeted monitoring

activities and findings for charter schools that have been undergoing corrective actions and/or

intensive corrective actions during the 2016-2017 and 2017-2018 school terms.

          C. DISCIPLINE

          1. Targeted Monitoring Activities for the Discipline Provisions

          Three schools were selected for targeted monitoring during the fall 2017 school

semester based on an analysis of 2016-2017 discipline data. The IMs reviewed the

documentation and calculations performed by LDOE monitoring personnel and confirmed



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that the schools were selected for targeted monitoring in a manner consistent with the

requirements outlined on page 11 of the CJ and pages 4-5 of Addendum A of the CJ. The

schools selected for targeted monitoring during the fall 2017 semester included McDonogh

42 Charter School, Joseph. S. Clark Preparatory High School, and Langston Hughes Charter

Academy. A review of findings for each school is presented below.

       a. McDonogh 42 Charter School

       The on-site targeted monitoring visit occurred on December 4, 2017. One LDOE

representative and one IM were present during the entire on-site visit to conduct staff

interviews and review student files. The staff interviews were conducted using a standard

bank of questions with staff members consistent with requirements outlined in sections 4(a)

and 4(b) on pages 4-5 of Addendum A of the CJ. The specific staff members who

participated in the interview process are reported on pages 3-4 of the LDOE monitoring

report. Faculty at McDonogh Charter School clearly articulated their responses regarding

the policies, procedures, and practices related to the provision of tiered behavioral supports

and disciplinary actions for students. In relation, the staff provided thorough and detailed

answers to all interview questions. A detailed summary of staff responses is presented on

pages 3- 4 of the LDOE monitoring report located in the Appendix.

       A representative sample of ten student files were reviewed by the LDOE

monitoring personnel and IMs in a manner consistent with the requirements outlined in

section 5 (a-b) on page 11 of the CJ and section 2(a-b) on page 5 of Addendum A of the

CJ. Specifically, the sample consisted of three students diagnosed with Emotional

Disability (ED), three students diagnosed with Other Health Impairment (OHI), two

students diagnosed with Specific Learning Disability (SLD) as their primary eligibility and




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Language/Speech as a secondary eligibility, and two students diagnosed with Intellectual

Disability (ID). A review of student records revealed that five students experienced in-

school or out-of-school suspension; however, no students met the criteria for a change in

placement or required a Manifestation Determination Review (MDR). Student file reviews

were conducted by LDOE monitoring personnel and IMs in a manner consistent with the

requirements outlined in section 3(a) on page 5 of Addendum A of the CJ using the

required Discipline protocol. Please refer to page 4 of the LDOE monitoring report for

McDonogh 42 Charter School in the Appendix for a list of items that were reviewed to

complete the Discipline protocol for the sample of students. Overall, systemic

noncompliance was not observed for this LEA under IDEA, Part B program. However, a

review of student records revealed student-specific concerns were identified for six

students. In relation, the student specific findings of noncompliance are listed on pages 2 of

the 2017-2018 IDEA monitoring results summary.

       b. Joseph. S. Clark Preparatory High School

       The on-site targeted monitoring visit occurred on December 6, 2017. One LDOE

representative and one IM were present during the entire on-site visit to conduct staff

interviews and review student files. The staff interviews were conducted using a standard

bank of questions with staff members consistent with requirements outlined in sections 4(a)

and 4(b) on pages 4-5 of Addendum A of the CJ. The specific staff members who

participated in the interview process are reported on page 3 of the LDOE monitoring report.

Faculty at Joseph S. Clark Preparatory High School provided comprehensive information

regarding the policies, procedures, and practices related to the provision of tiered behavioral

supports and disciplinary actions for students. In relation, the staff provided thorough and




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detailed answers to all interview questions. A detailed summary of staff responses is

presented on pages 3- 4 of the LDOE monitoring report located in the Appendix.

       A representative sample of ten student files were reviewed by the LDOE monitoring

personnel and IMs in a manner consistent with the requirements outlined in section 5(a-b)

on page 11 of the CJ and section 2(a-b) on page 5 of Addendum A of the CJ. Specifically,

the sample consisted of three students diagnosed with Specific Learning Disability (SLD),

three students diagnosed as Gifted or Talented, one student diagnosed with Emotional

Disability (ED), one student diagnosed with Other Health Impairment (OHI), one student

diagnosed with ED and OHI, and one student diagnosed with a Language Impairment. Eight

of ten student (80% of the sample) experienced in-school suspension (ISS) and/or out-of-

school suspension (OSS). One student (10% of the sample) required a Manifestation

Determination Review (MDR) as the result of a change in placement. Student file reviews

were conducted by LDOE monitoring personnel and IMs in a manner consistent with the

requirements outlined in section 3(a) on page 5 of Addendum A of the CJ using the required

Discipline protocol. Please refer to page 4 of the LDOE monitoring report for Joseph S.

Clark Preparatory High School in the Appendix for a list of items that were reviewed to

complete the Discipline protocol for the sample of students. A review of student records

revealed that eight of ten applicable student files (80% of the sample) were judged to be in

noncompliance regarding the provision of disciplinary procedures and/or other IDEA

requirements. Specific IDEA systemic violations are reported on pages 4-6 of the LDOE

monitoring report and pages 2-5 of the 2017-2018 IDEA monitoring results summary

located in the Appendix. In relation, student specific findings of noncompliance are listed

on pages 6-7 of the 2017-2018 IDEA monitoring results summary. Overall, systemic




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noncompliance was identified for this LEA under IDEA, Part B program in seven areas as

reflected on pages 2-5 of the 2017-2018 IDEA Monitoring Results Summary. Specifically,

one of one applicable student files (100% of the sample experiencing a change in

placement) were found to be in noncompliance with the requirement that the LEA, the

parent, and relevant IEP team members conduct a Manifestation Determination Review

(MDR) within 10 school days of any decision to change the placement of a child with a

disability because of a violation of the code of conduct (IDEA-§300.530E and E(1). One of

one applicable student files (100% of the sample experiencing a change in placement) was

judged to be in noncompliance with the requirement that the LEA notify the parents of the

decision to make a removal that constitutes a change of placement of a child with a

disability because of a violation of the code of conduct on the date of the removal (IDEA-

§300.530H). One of one applicable student files (100% of the sample experiencing a change

in placement) were found to be in noncompliance with the IEP team conduct an FBA,

unless the LEA had conducted an FBA before the behavior that resulted in a change of

placement occurred, and implemented a BIP; or if the BIP already has been developed,

review and modify the BIP, as necessary, to address the behavior (IDEA-§300.530 (f) and

(g). Three of seven applicable student files (43% of the sample) were found to be

noncompliance with the requirement that the IEP team consider the use of positive behavior

interventions, supports, and other strategies for a child who behavior impedes his or her

learning or the learning of others (IDEA-§300.324(2)(i). One of one applicable student files

(100% of the sample experiencing a change in placement) was judged to reflect

noncompliance for the requirement that the behavior plan be reviewed or modified as

necessary to address student behavior (IDEA-§300.530(f)(1)(ii). One of one applicable




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student files (100% of the sample experiencing a change in placement) was judged to reflect

noncompliance with the requirement that the student continue to receive services so as to

enable the student to continue to participate in the general education curriculum, although in

another setting, and to progress toward meeting the goals set out in the student’s IEP if the

IEP team determined that the behavior was not a manifestation of the student’s disability

and suspension/expulsion was applied (IDEA-§300.530(d). One of one applicable student

files (100% of the sample experiencing a change in placement) was judged to reflect

noncompliance with the requirement that that the IEP team conduct an FBA unless the LEA

had conducted an FBA prior to the occurrence of the behavior that led to a change in

placement and develop or modify the BIP (IDEA-§300.530(d) and f(1)(i).

      c. Langston Hughes Charter Academy

       The on-site targeted monitoring visit occurred on December 7, 2017. Two LDOE

representatives and two IMs were present during the entire on-site visit to conduct staff

interviews and review student files. The staff interviews were conducted using a standard

bank of questions with staff members consistent with requirements outlined in sections 4(a)

and 4(b) on pages 4-5 of Addendum A of the CJ. The specific staff members who

participated in the interview process are reported on page 3 of the LDOE monitoring report.

Faculty at Langston Hughes Charter Academy clearly articulated their responses regarding

the policies, procedures, and practices related to the provision of tiered behavioral supports

and disciplinary actions for students. The staff provided satisfactory answers to all interview

questions with the exception of clearly defining the methods for measuring and

documenting the effectiveness of behavior intervention plans. A detailed summary of staff

responses is presented on page 3 of the LDOE monitoring report located in the Appendix.




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       A representative sample of ten student files were reviewed by the LDOE monitoring

personnel and IMs in a manner consistent with the requirements outlined in section 5 (a-b)

on page 11 of the CJ and section 2(a-b) on page 5 of Addendum A of the CJ. Specifically,

the sample consisted of three students diagnosed with Specific Learning Disability (SLD),

four students diagnosed with Other Health Impairment (OHI), two students diagnosed with

Emotional Disability (ED), and one student diagnosed with Intellectual Disability (ID). Two

of the ten students (20% of the sample) required a Manifestation Determination Review

(MDR) as the result of a change in placement. Student file reviews were conducted by

LDOE monitoring personnel and IMs in a manner consistent with the requirements outlined

in section 3(a) on page 5 of Addendum A of the CJ using the required Discipline protocol.

Please refer to pages 4 of the LDOE monitoring report for Langston Hughes Charter

Academy in the Appendix for a list of items that were reviewed to complete the Discipline

protocol for the sample of students. A review of student records revealed that seven of ten

applicable student files (70% of the sample) were judged to be in noncompliance regarding

the provision of disciplinary procedures and/or other IDEA requirements. Specific IDEA

systemic violations are reported on pages 4-5 of the LDOE monitoring report and page 2 of

the 2017-2018 IDEA monitoring results summary located in the Appendix. In relation,

student specific findings of noncompliance are listed on pages 3-6 of the 2017-2018 IDEA

monitoring results summary. Overall, systemic noncompliance was identified for this LEA

under IDEA, Part B program in three areas. Specifically, seven of ten applicable student

files (70% of the sample) were found to be noncompliance with the requirement that the IEP

team consider the use of positive behavior interventions, supports, and other strategies for a

child who behavior impedes his or her learning or the learning of others (IDEA-




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§300.324(2)(i). One of two applicable student files (50% of the sample receiving a change

in placement) were judged to be in noncompliance with the requirement that the LEA notify

the parents of the decision to make a removal that constitutes a change of placement of a

child with a disability because of a violation of the code of conduct on the date of the

removal (IDEA-§300.530H). One of two applicable student files (50% of the sample

experiencing a change in placement) was judged to reflect noncompliance with the

requirement that that the IEP team conduct an FBA unless the LEA had conducted an FBA

prior to the occurrence of the behavior that led to a change in placement and develop or

modify the BIP (IDEA-§300.530(d) and f(1)(i).


       2. Corrective Actions to Address Identified Areas of Noncompliance
       Overall, systemic noncompliance was identified across three common areas (e.g., use

of positive behavior supports for a student whose behavior impedes his or her learning of the

learning of others; notification and provision of procedural safeguards, completion of a

Functional Behavior Assessment and Behavior Intervention Plan or revision of the BIP) for

two of three charter schools targeted for monitoring during the fall 2017 semester. Given the

identified systemic and student-specific findings of noncompliance under IDEA, Part B, two

of three charter schools (66% of the sample) required a formal CAP. As required by the CJ,

the LDOE developed a CAP to address each area of identified systemic noncompliance and

student-specific noncompliance listed in the LDOE monitoring report and 2017-2018 IDEA

monitoring summary for each LEA. Specifically, the revised CAPs for Joseph S. Clark

Preparatory High School and Langston Hughes Charter Academy included eight activities of

corrective action (e.g., 1.1 correction of student-specific findings of noncompliance; 1.2

provision of professional development to school staff on the completion of data collection and



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writing appropriate FBAs; 1.3 provision of professional development to school staff on

writing, implementing, and documenting appropriate BIPs and completing Daily Behavior

Report Cards; 1.4 internal monitoring FBAs and BIPs on a bi-monthly basis using FBA/BIP

checklist from LDOE; 1.5 development of a formal written process on how conduct FBAs,

develop BIPs, use data collection methods, and evaluate integrity within the mandated MDR

process; 1.6 provide professional development to school staff on the MDR process; 1.7 utilize

the MDR checklist form the LDOE to ensure required procedures are followed; 1.8 monthly

tracking of student discipline data). A copy of the revised CAP for each charter school is

located in the Appendix for review by the parties. A review of the revised CAPs by the IMs

revealed that the documents include corrective actions consistent with requirements outlined

on page 2 of Bulletin 1922 (Louisiana Administrative Code March 2017 Part XCI.

Compliance Monitoring Procedures) and in section IV(C)(5) on page 11 of the CJ.

       3. Status of Compliance

       After participating in the on-site monitoring visits for the charter schools selected for

targeted monitoring and reviewing documentation submitted by the LDOE monitoring

personnel (e.g., monitoring notifications, LDOE monitoring reports, 2017-2018 IDEA

monitoring results summaries, corrective action plans, technical assistance notifications) and

discussing the targeted monitoring activities with LDOE legal counsel and monitoring

personnel during conference calls and on-site meetings during throughout the fall 2017

semester and spring 2018 semester, the LDOE is judged to be in Substantial Compliance

with Section IV(C)(5)(a-b) and Sections C(1)(a-c) through 5(a) of Addendum A of the CJ for

the fall 2017 semester of the 2017-2018 school year. Additional evaluations of compliance in

the area of Discipline will be summarized in forthcoming IM status reports. These updates will




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specifically discuss the follow-up, on-site targeted monitoring activities and findings for

charter schools that have been undergoing corrective actions and/or intensive corrective

actions during the 2016-2017 and 2017-2018 school years.

       D. ENROLLMENT

       1. Targeted Monitoring Activities for the Enrollment Stability Provisions
       Three schools were selected for targeted monitoring during the fall 2017 semester

based on an analysis of 2016-2017 enrollment rates for NOLA Type 2 and Type 5 Charter

schools and OPSB LEAs. The IMs reviewed the documentation and calculations performed

by LDOE monitoring personnel and confirmed that the schools were selected for targeted

monitoring in a manner consistent with the requirements outlined on page 14-15 of the CJ

and page 6 of Addendum A of the CJ. The schools selected for targeted monitoring during

the fall 2016 semester included Encore Academy, Edgar P. Harney Spirit of Excellence

Academy and Einstein Charter Middle School. A review of findings for each school is

presented below.

       a. Encore Academy

       The on-site targeted monitoring visit occurred on December 5. 2017. One LDOE

representative and one IM were present during the entire on-site visit to conduct staff

interviews and review student files. The staff interviews were conducted using a standard

bank of questions with staff members consistent with requirements outlined in sections

B(4)(a) and B(4)(b) on pages 3-4 of Addendum A of the CJ. The specific staff members

who participated in the interview process are reported on page 3 of the LDOE monitoring

report. Due to scheduling difficulties, the staff interview was conducted with each staff

member separately. Reportedly, service providers utilize both “push-in” and “pull-out”

methods of service delivery. School personnel also reported that students are not isolated to


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one particular classroom to receive services. In relation, staff noted that every effort is made

to minimize removing students from Core instruction to receive services. During the

interview, school staff reported that Adaptive PE, Physical Therapy or Occupational

Therapy services were not provided to students at the beginning of the school year due to

delays in securing service providers. School personnel reported meeting weekly to review

student progress. However, sufficient information was not provided regarding the LEA’s

procedures for affording students with compensatory related services (e.g., PT, OT, APE)

when service provisions are not provided and/or delayed. Additional concern was observed

related to the LEA’s difficulty clearly articulating the process for determining a student’s

need for related services and informing staff when a student transferring into the school

requires related service provisions. A summary of staff responses is presented on pages 3-4

of the LDOE monitoring report located in the Appendix.

       A representative sample of ten student files were reviewed by the LDOE monitoring

personnel and IMs in a manner consistent with the requirements outlined in section B(2)(a)

on and B(2)(b) on page 3 of Addendum A of the CJ. The sample of students reviewed

included the following exceptionalities: three students with an exceptionality of Autism,

one student with an exceptionality of Other Health Impaired, four students with an

exceptionality of Intellectual Disability and two students with an exceptionality of Hearing

Impaired. A wide range of Related Services were provided including Adaptive PE (4

students), Speech Therapy (10 students), Social Work Services (2 students), Occupational

Therapy (2 students), School Health and Nursing Services (1 student) and Audiological

Services (1 student).

       Student file reviews were conducted by LDOE monitoring personnel and IMs in a




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manner consistent with the requirements outlined in section B(3)(a) on page 3 of Addendum

A and section D(2)(a-c) on page 6 of Addendum A using the required Related Service

protocol. Please refer to page 4 of the LDOE monitoring report for Encore Academy in the

Appendix for a list of items that were reviewed to complete the Related Service protocol for

the sample of students. A review of student records revealed that ten of ten applicable

student files reviewed (100% of the sample) were judged to be in noncompliance regarding

Related Service provisions. Specific IDEA systemic violations are reported on pages 4-5 of

the LDOE monitoring report and pages 2-4 of the 2017-2018 IDEA monitoring results

summary located in the Appendix. In relation, student-specific findings of noncompliance

are listed on pages 5-10 of the 2017-2018 IDEA monitoring results summary. Overall,

systemic noncompliance was identified for this LEA under IDEA, Part B in six areas.

Specifically, ten (10) of ten (10) applicable student files reviewed (100% of the sample)

were judged to reflect overall concerns related to the provision of FAPE. As such, this

reflects systemic noncompliance under IDEA §300.17(a.-d.) Free Appropriate Public

Education (FAPE). Similarly, ten (10) of ten (10) applicable student files (100% of the

sample) reviewed lacked pertinent information regarding the development of appropriate

and meaningful descriptions of student’s current academic and functional performance. This

reflects systemic noncompliance regarding statements of present levels of academic

achievement and functional performance under IDEA §300.320(a) (1)(i)(2)(i)- Definition of

Individualized Education Program. Ten (10) of ten (10) applicable student files reviewed

(100% of the sample) also lacked required components of a standards-based IEP

(measurable goals and objectives). This reflects systemic noncompliance regarding

standards-based IEP goals under IDEA §300.320(a)(2) Definition of Individualized




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Education Program. Five (5) of ten (10) applicable student files reviewed (50% of the

sample) contained inadequate data to monitor student progress. This reflects systemic

noncompliance regarding reporting progress under IDEA §300.320 (a)(3)(i-ii)-Definition of

an Individualized Education Program. Eight (8) of ten (10) applicable student files

reviewed (80% of the sample) indicated appropriate staff members were not involved in

IEP decisions. This reflects systemic noncompliance regarding staff participation under

IDEA §300.321(a)-(b)-IEP Team. In addition, two (2) of four (4) applicable student files

reviewed (50% of the sample) indicated that students did not participate with non-disabled

peers to the maximum extent appropriate. This reflects systemic noncompliance regarding

LRE under IDEA §300.320(a)(5)–Definition of an Individualized Education Program.

Finally, one (1) of ten (10) applicable student files reviewed (10% of the sample) contained

missing information to document services were provided according to the type and

frequency indicated on the student’s IEP. This reflects only a student-specific finding of

noncompliance and does not reflect systemic concerns under IDEA §300.320(a)(4) and (7) -

Definition of an Individualized Education Program.

       b. Einstein Charter Middle School

      The on-site targeted monitoring visit occurred on December 5, 2017. One LDOE

representatives and one IM were present during the entire on-site visit to conduct staff

interviews and review student files. The staff interviews were conducted using a standard

bank of questions with staff members consistent with requirements outlined in sections

B(4)(a) and B(4)(b) on pages 3-4 of Addendum A of the CJ. The specific staff members

who participated in the interview process are reported on page 3 of the LDOE monitoring

report. Faculty at Einstein Middle Charter School at Sarah Towles Reed reportedly utilize



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teacher referrals, classroom assessments, and SAT team recommendations to determine

if related services are required. Faculty reported using a “check-in, check-out” model of

related service delivery. The school team also reported that all related service p roviders

were available to provide services to all students. However, staff failed to clearly

articulate a plan for addressing the provision of related services in the absence of regular

service providers. Reportedly, faculty at Einstein Middle Charter School at Sarah Towles

Reed meet weekly to review and discuss the results of assessment outcomes (e.g., MAP

360, 300 R. Achieve 3000) and classroom progress monitoring data to evaluate student

progress and make any changes to interventions or related service provisions, as needed. A

summary of staff responses is presented on page 3 of the LDOE monitoring report located

in the Appendix.

       A representative sample of ten student files were reviewed by the LDOE monitoring

personnel and IMs in a manner consistent with the requirements outlined in section B(2)(a)

and B(2)b on page 3 of Addendum A of the CJ. The sample of ten students reviewed

included the following exceptionalities: two students with an exceptionality of Emotionally

Disabled, three students with an exceptionality of Other Health Impaired/Language/Speech

Impaired, one student with an exceptionality of Specific Learning Disabled/

Language/Speech Impaired, one student with an exceptionality of Specific Learning

Disabled, one student with exceptionality of Autism and two students with an

exceptionality of Autism/Language/Speech Impaired. Related Service provisions reviewed

included Counseling Services (2 students), Speech Therapy Services (7 students), Social

Work Services (4 students) and Adaptive PE (2 students).

       Targeted file reviews were conducted by LDOE monitoring personnel and IMs in a



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manner consistent with the requirements outlined in section B(3)(a) on page 3 of Addendum

A and section D(2)(a-c) on page 6 of Addendum A of the CJ using the required Related

Service protocol. Please refer to page 4 of the LDOE monitoring report for the Einstein

Charter Middle School in the Appendix for a list of items that were reviewed to complete

the Related Service protocol for the sample of students. A review of student records

revealed that nine of nine applicable student files reviewed (100% of the sample) were

judged to be in noncompliance regarding Related Service provisions. Specific IDEA

systemic violations are reported on pages 4-5 of the LDOE monitoring report and pages 2-4

of the 2017-2018 IDEA monitoring results summary located in the Appendix. In relation,

student-specific findings of noncompliance are listed on pages 5-8 of the 2017-2018 IDEA

monitoring results summary. Overall, systemic noncompliance was identified for this LEA

under IDEA, Part B in seven areas. Specifically, ten (10) of ten (10) applicable student files

reviewed (100% of the sample) were judged to reflect overall concerns related to the

provision of FAPE. As such, this reflects systemic noncompliance under IDEA §300.17(a.-

d.) Free Appropriate Public Education (FAPE). Ten of ten (10) applicable student files

reviewed (90% of the sample) failed to appropriately describe students’ present academic

and functional performance. This reflects systemic noncompliance regarding statements of

present levels of academic achievement and functional performance under IDEA

§300.320(a)(1)(i)(2)(i)- Definition of Individualized Education Program. Similarly, nine (9)

of ten (10) applicable student files reviewed (90% of the sample) failed to include the

required components of a standards-based IEP (measurable goals and objectives). This

reflects systemic noncompliance regarding standards-based IEP goals under IDEA

§300.320(a)(2) Definition of Individualized Education Program. Five (5) of ten (10)




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 applicable student files reviewed (50%) of the sample) lacked evidence that the related

 services were being provided in the types and frequency specified in the IEP. This also

 reflects systemic noncompliance for IDEA §300.320(a)(4) and (7). Five (5) of ten (10)

 applicable student files reviewed (50% of the sample) indicated that parents were not

 involved in the IEP development or IEP meeting. This reflects systemic noncompliance

 regarding parent participation for IDEA §300.322(a). IDEA-Parent Participation. Four (4) of

 seven (7) applicable student files reviewed (57% of the sample) indicated parents were not

 provided with other methods/opportunities to participate in the IEP process. This reflects

 systemic noncompliance for provision of other methods of parent participation for IDEA

 §300.501(b)-Parent Participation. Finally, nine (9) of ten (10) applicable student files

 reviewed (90% of the sample) indicated that appropriate staff members were not involved in

 making IEP decisions. This reflects noncompliance regarding staff participation for IDEA

 §300.321(a)-(b)-IEP Team.

       In addition to identified systemic concerns, two student-specific findings of

noncompliance were observed. Specifically, one (1) of ten (10) applicable student files

reviewed (10% of the sample) lacked appropriate documentation to verify that related

services were reasonably calculated to address the related services needs of the student as

required under IDEA §300.320(a)(4). Similarly, one (1) of five (5) applicable student files

reviewed (20% of the sample) failed to include an explanation of the extent to which the

student would not participate with nondisabled students to the maximum extent appropriate

as required under IDEA §300.320(a)(5). Again, these observed concerns reflect only

student-specific noncompliance rather than systemic concerns at this time.




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       c. Edgar P. Harney Spirit of Excellence Academy

       The on-site targeted monitoring visit occurred on December 7, 2017. One LDOE

representative and one IM were present during the entire on-site visit to conduct staff

interviews and review student files. The staff interviews were conducted using a standard

bank of questions with staff members consistent with requirements outlined in sections B4

(a) and B4 (b) on page 3-4 of Addendum A of the CJ. The specific staff members who

participated in the interview process are reported on page 3 of the LDOE monitoring report.

In general, results of the staff interview indicated systemic and student-specific non-

compliance in the area of Enrollment Stability (Related Service provisions). During the

interview, staff described the SBLC referral process with sufficient detail. However, one

concern was noted related to requesting that parents obtain external evaluations.

Specifically, school personnel reported that parents are advised to pursue a psychiatric

evaluation when students exhibit social and emotional problems. In relation, staff also

reported that related services in the areas of Occupational Therapy and Social Work

Services were not currently being provided as the result of the LEA’s inability to secure

service providers. School officials did describe a variety of current efforts to secure

credentialed service providers as soon as possible. Staff also discussed the school’s routine

of facilitating collaboration between current service providers. However, routinely

scheduled meetings were not evident in this regard. Sufficient information regarding the

school’s attempts to facilitate student services in the Least Restrictive Environment (LRE),

while also minimizing missed instructional time, was provided during the interview process.

A summary of staff responses is presented on pages 3-4 of the LDOE monitoring report

located in the Appendix.




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       A representative sample of ten student files were reviewed by the LDOE

monitoring personnel and IMs in a manner consistent with the requirements outlined in

section B(2)(a) and B(2)(b) on page 3 of Addendum A of the CJ. The sample of ten

students reviewed included the following exceptionalities: eight students with an

exceptionality of Intellectually Disabled and two students with an exceptionality of

Multiple Disabilities. Related Service provisions included Occupational Therapy (6

students), Physical Therapy (1 student), Speech Therapy (10 students), Social Work

Services (2 students) and Adaptive PE (3 students).

       Targeted file reviews were conducted by LDOE monitoring personnel and IMs in a

manner consistent with the requirements outlined in section B3(a) on page 3 of Addendum

A of the CJ and section D(2)(a-c) on page 6 of Addendum A using the required Related

Service protocol. Please refer to page 4 of the LDOE monitoring report for Edgar P.

Harney Spirit of Excellence Academy in the Appendix for a list of items that were

reviewed to complete the Related Services protocol for the sample of students. A review of

student records revealed that ten of ten student files reviewed (100% of the sample) were

judged to reflect noncompliance regarding Related Service provisions. Specific IDEA

systemic violations are reported on pages 4-5 of the LDOE monitoring report and pages 2-

4 of the 2017-2018 IDEA monitoring results summary located in the Appendix. In relation,

student-specific findings of noncompliance are listed on pages 5-9 of the 2017-2018 IDEA

monitoring results summary.

     Overall, systemic noncompliance was identified for this LEA under IDEA, Part B in

seven areas. Specifically, ten (10) of ten (10) applicable student files reviewed (100% of the

sample) lacked pertinent information regarding the students’ present levels of performance.



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This reflects systemic noncompliance regarding statements of present levels of academic

achievement and functional performance under IDEA §300.320(a)(1)(i)(2)(i)- Definition of

Individualized Education Program. Nine (9) of ten (10) applicable student files reviewed

(90% of the sample) lacked required components of a standards-based IEP. This reflects

systemic noncompliance regarding standards-based IEP goals under IDEA §300.320 (a)(2)

and 300.160(5a)(b2ii)(c-9) – Definition of Individualized Education Program. Six (6) of six

(6) applicable student files reviewed (100% of the sample) indicated that students did not

participate with non-disabled peers to the maximum extent appropriate. This reflects

systemic noncompliance regarding student participation under IDEA §300.320(a)(5). IDEA

– Definition of an Individualized Education Program. Six (6) of ten (10) applicable student

files reviewed (60% of the sample) contained missing information to document services

were provided according to the type and frequency indicated on the student’s IEP. This

reflects systemic noncompliance regarding the provision of services under IDEA

§300.320(a)(5). IDEA – Definition of an Individualized Education Program. Two (2) of

two (2) applicable student files reviewed (100% of the sample) indicated parents were not

provided other methods to participate in the IEP. However, this does not reflect systemic

noncompliance for provision of other methods of parent participation under IDEA

§300.501(b) – IDEA Parent Participation. Four (4) of ten (10) applicable student files

reviewed (40% of the sample) indicated that the staff were not involved in IEP decisions.

This reflects systemic noncompliance regarding staff participation under IDEA

§300.321(a)-(b) – IEP Team. Finally, ten (10) of ten (10) applicable student files (100% of

the sample receiving related services) were observed to reflect systemic noncompliance

with the requirement that the student receive a Free Appropriate Public Education (FAPE)




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as outlined under (IDEA-§300.17(a.-d.).

       In addition to systemic concerns, a single student-specific finding of noncompliance

was observed during on site monitoring. Specifically, one (1) of ten (10) applicable student

files reviewed (10% of the sample) contained inadequate data to document progress toward

meeting annual goals. Again, this reflects a student-specific finding under IDEA

§300.320(a)(3)(i-ii) – Definition of an Individualized Education Program as no systemic

concerns were observed in this regard.

       2. Corrective Actions to Address Identified Areas of Noncompliance


       Overall, systemic noncompliance was consistently identified in areas four across all

LEAs targeted in the area of Enrollment. (i.e. provision of FAPE, development of

appropriate and meaningful description of students’ present levels of academic and

functional performance, development of meaningful and measurable annual goals and

objectives and appropriately documenting that related services are provided with the types

and frequency as specified in student IEP’s). Two LEA’s (Encore Academy and Edgar P.

Harney Spirit of Excellence Academy) also demonstrated additional systemic

noncompliance with IDEA requirements related to (a) ensuring that students with

disabilities participate with non-disabled peers to the maximum extent appropriate and (b)

ensuring that all appropriate staff participate in IEP meetings. In addition, two LEA’s

(Einstein Charter Middle School and Edgar P. Harney Spirit of Excellence Academy)

demonstrated systemic noncompliance related to ensuring that parents who are unable to

attend IEP meetings are afforded with options to allow for participation. One LEA (Encore

Academy) also demonstrated additional systemic concerns related to appropriately

describing how student progress will be frequently monitored to assess progress toward


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achieving annual goals. Finally, one LEA (Einstein Charter Middle School) demonstrated

additional systemic concerns related to ensuring that parents are invited to participate in

IEP meetings.

      Given the identified systemic and student-specific findings of noncompliance under

IDEA, Part B, all three charter schools (100% of the sample) required a formal CAP to

address identified concerns. As required by the CJ, the LDOE developed a CAP to address

each area of identified systemic noncompliance or student-specific noncompliance listed in

the LDOE monitoring reports and 2017-2018 IDEA monitoring summaries for Encore

Academy, Einstein Charter Middle School and Edgar P. Harney Spirit of Excellence

Academy. Specifically, the CAPs for all LEAs targeted in the area of Enrollment included

eight activities for corrective action (e.g., 1.1 immediately correct all student specific

citations identified in the Results Summary report; 1.2 provide training for special

education staff (special education teachers and related service providers) on writing

compliant IEPs; 1.3 provide training to related service providers on how to properly

document provision of services to students, including completing services logs and

appropriately documenting student progress and delivery of services; 1.4 ongoing training

provided by the LEA in the following areas: IEP writing, provision and documentation of

accommodations, documenting special education services, progress monitoring of student

data; 1.5 conduct monthly consistency checks completed by the Special Education Director

to ensure IEP fidelity; 1.6 monthly consistency checks completed by the Special Education

Director to ensure related service provider logs are completed with fidelity and accurately

reflect provision of services per the time/frequency specified on the students IEP; 1.7

mandated staff completion of the IEP Training Modules on the LDOE website provided by




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the Human Development Center – LSUHSC group with a particular focus on Module 2

(Data Driven Present Levels of Performance) and Module 3 (Measurable Goals); 1.8

provisions for compensatory education (related service minutes) to students whose files did

not include documentation verifying they received related services as outlined on student

IEPs).

          A copy of the revised CAPs to address areas of noncompliance for Related Service

provisions for Encore Academy, Edgar P. Harney Spirit of Excellence Academy and Einstein

Charter Middle School are available in the Appendix for review by the parties. A review of

the revised CAPs by the IMs revealed that the documents include corrective actions consistent

with requirements outlined on page 2 of Bulletin 1922 (Louisiana Administrative Code March

2017 Part XCI. Compliance Monitoring Procedures) and in section IV(D)(7) on page 14 of

the CJ.

          3. Status of Compliance

          After participating in the on-site monitoring visits for the charter schools selected for

targeted monitoring and reviewing documentation submitted by the LDOE monitoring

personnel (e.g., monitoring notifications, LDOE monitoring reports, 2017-2018 IDEA

monitoring results summaries, corrective action plans, technical assistance notifications) and

discussing the targeted monitoring activities with LDOE legal counsel and monitoring

personnel during conference calls and on-site meetings during throughout the fall 2017

semester and spring 2018 semester, the LDOE is judged to be in Substantial Compliance

with Section IV(D)(7)(a-b) of the CJ and Sections D(1)(a-c) and D(2)(a-c) of Addendum A of

the CJ for the fall 2017 semester of the 2017- 2018 school year. Additional evaluations of

compliance in the area of Enrollment will be summarized in forthcoming IM status reports.




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Specifically, these updates will discuss the follow-up, on-site targeted monitoring activities

and findings for charter schools that have been undergoing corrective actions and/or intensive

corrective actions during the 2016-2017 and 2017-2018 school terms.

RECOMMENDATIONS

1.          As noted in previous IM status reports and this status report, the CJ specifies that

      the State Defendants shall be released from the terms of the CJ when they have 1)

      achieved Substantial Compliance with each provision of the Agreement for which they are

      assigned responsibility; 2) maintained Substantial Compliance for a period of two years;

      and 3) subject to Court approval (p. 18 of the CJ). As reported in previous IMs status

      reports, the LDOE was judged to establish “Substantial Compliance” with all targeted

      monitoring activities during the fall 2016 and spring 2017 school terms which represented

      the initial, full year of required compliance. In relation, based on the findings reported

      here summarizing the findings of the fall 2017 targeted monitoring activities, the IMs

      suggest to the Court that LDOE has successfully achieved “Substantial Compliance” for

      the fall 2017 school term of the first year of the required two years of maintained

      compliance. As such, the IMs recommend that the LDOE shall continue to follow the

      targeted monitoring procedures as outlined in each substantive section of the CJ and on

      pages 1-12 of Addendum A of the CJ (i.e. continue to review charter school selection and

      verify LDOE calculations, select LEAs for targeted monitoring, perform staff interviews

      and student file reviews using the protocols as outlined in the CJ and Addendum A) until

      such time the LDOE achieves a second, full consecutive year of sustained “Substantial

      Compliance.” In relation, the IMs recommend to the Court that the LDOE shall continue

      to conduct initial and follow-up on-site targeted monitoring visits collaboratively with the



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      IMs to obtain information from faculty and review student files to make compliance

      determinations in each area of the CJ.

2.          As noted previously on page 3 of this report, based on the feedback received from

     the Parties to the draft IM status report dated May 5, 2018, the Counsel for the Plaintiff

     Class continues to express disagreement with the IM’s interpretation of the CJ in terms of

     how “Substantial Compliance” is determined as related to the targeted monitoring

     activities and/or the adequacy of corrective actions developed to remedy any findings of

     noncompliance as required by the CJ. In relation, the Counsel for the Plaintiff Class also

     asserts a relevant impact of the recent Supreme Court decision (i.e., Endrew F. ex rel.

     Joseph F. v. Douglas Cty Sch Dist. RE-1, 137 S. Ct. 988, 1001, 197 L. Ed. 2d 335 (2017)

     on the CJ as it relates to “Substantial Compliance” determinations with regard to the

     development of appropriate corrective actions. As such, to provide additional insight to

     this matter, it is recommended that the Counsel for the Plaintiff Class follow the

     appropriate procedures for requesting that a formal brief be filed with the Court in this

     regard.

3.         As noted previously on page 3 of this status report, there also continues to be

      disagreement among the Parties with the IM’s interpretation of the CJ in terms of the

      duration of time required for initial achievement of “Substantial Compliance” and the

      maintenance of required compliance. Therefore, following the filing of this IM status

      report and the forthcoming IM status reports, the IMs recommend a status conference be

      scheduled for the Counsel for the Plaintiff Class, State Defendants, Defendant-Intervenor,

      and IMs to meet with Judge Zainey in chambers to discuss each of the issues and concerns

      expressed by the Parties. The IMs intend to file two additional draft status reports with the



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      Court in mid-July 2018 summarizing the findings of targeted follow-up monitoring visits

      conducted in March 2018. Therefore, the IMs recommend consideration of a status

      conference in August 2018 with the Court and all Parties to discuss the information

      presented in the IM status reports and address each of the aforementioned issues and

      concerns presented by the Parties.

4.        The IMs recommend to the Court that the LDOE monitoring personnel and relevant

      OPSB personnel shall continue to provide ongoing technical assistance and professional

      development to ensure that the LEAs are able to engage in the activities listed on the

      CAPs with adequate levels of fidelity to correct the identified areas of systemic and

      student-specific noncompliance. In relation, the IMs continue to recommend that LDOE

      monitoring personnel and/or relevant OPSB personnel provide written updates of the

      status of compliance and progress for each activity specified in each LEA’s CAP to the

      IMs on a quarterly basis. The IMs agree to be available as requested by the LDOE to

      further assist in evaluating the status of compliance with the CAPs. Because of the

      transition of LEAs to the OPSB effective July 1, 2018, the IMs also recommend that the

      provision of specific professional development and technical assistance activities by the

      LDOE and OPSB be discussed during the status conference recommended for August

      2018.

5.        The content of the revised CAPs developed for the ten schools identified in need of

      corrective actions for the 2018-2019 school year are consistent with the requirements

      described in La. Bulletin 1922 §107(A-E). However, it is important to note that LEAs who

      successfully exited their Corrective Action Plans or intensive Corrective Action Plans

      during the 2017-2018 school year employed a variety of strategies to assist them in the



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      completion of activities and action steps for compliance with their respective CAPs and/or

      ICAPs. For example, some of the LEAs employed professional consultants to provide

      professional development and/or ongoing technical assistance throughout the school year

      to school personnel. In addition, some LEAs hired additional onsite administrative and/or

      educational personnel to ensure that academic, behavioral, and/or social/emotional

      services were provided with adequate levels of fidelity. Some Charter Management

      Organizations adopted the corrective actions as part of their policies across all LEAs in the

      CMO. In relation, some LEAs were required to present ongoing status updates regarding

      their compliance with their CAPs and/or ICAPs to their CMO Boards of Education.

      Finally, LEAs frequently contacted the LDOE monitoring personnel throughout the school

      year to obtain technical assistance and guidance for the activities required by their CAPs

      and/or ICAPs. As such, the IMs recommend that the LEAs identified in need of corrective

      actions during the fall 2017 semester consider adoption of some of these formal strategies

      to assist them in effectively implementing the activities and action steps required by their

      CAPs for the 2018-2019 school year.

6.       As noted in previous IM status updates, a consistent pattern with regard to findings of

      systemic noncompliance for LEAs identified for initial, on-site targeted monitoring

      continues to be observed. Specifically, 100% of the schools identified for targeted

      monitoring during the spring 2016 school term and fall 2016 school term required

      corrective actions to address findings of systemic noncompliance. In relation, 83% of the

      LEAs identified for targeted monitoring during the fall 2017 school term required formal

      corrective actions to address findings of systemic noncompliance. Therefore, considering

      the ongoing concerns regarding systemic noncompliance identified in LEAs selected for




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 initial onsite targeted monitoring since the formal initiation of targeted monitoring

 activities under the CJ, the IMs continue to recommend that the LDOE and OPSB work

 together in a collaborative manner to develop a strategic and proactive action plan to

 address each of the recommendations outlined by the IMs on pages 57-62 of the IM status

 reported submitted to the Court on February 22, 2018 and pages 20-23 of the IM status

 report submitted to the Court on February 23, 2018. Given the fact that NOLA Charter

 LEAs are transitioning OPSB’s jurisdiction on July 1, 2018, the IMs believe such

 collaboration and planning is critical to ensure a smooth transition as related to

 establishing and/or sustaining compliance with IDEA mandates for students with

 disabilities across all LEAs. The IMs recommend that discussion of these transition

 activities should also occur during the status conference recommended for August 2018.

 The IMs agree to be available if requested by the LDOE and/or OPSB to further assist in

 the development of this strategic plan of action. Finally, the IMs recommend that a draft

 of the strategic plan be submitted to the Plaintiffs’ counsel and IMs for comment prior to

 final submission to the Court for approval and adoption.




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